
Morgan, J., dissenting:
The majority opinion is based upon the conclusion that the lower court should have sustained Schuch’s motion for a directed verdict at the close of the plaintiff’s case. It is unnecessary to cite authorities that, where the plaintiff’s evidence tends to prove the allegations of his complaint, such motion should be denied. The issue that was tried in this case was upon Schuch’s individual liability, as an .original promisor, for the payment of the plaintiff’s services. The question before this court is, was the evidence sufficient to justify the court in submitting such issue to the jury? The complaint was upon an indebtedness for services performed, indebitatus assumpsit. Answer, general denial. The majority opinion concludes that the plaintiff’s testimony shows that Schuch’s promise was within the statute of frauds. The lower court did not think so, nor did the jury, and this court should not interfere if the evidence tended to prove the *181allegations of the complaint, or, if there is -a conflict in the entire evidence on which the issue was submitted.— Union Coal &amp; Coke Co. v. Edman, 16 Colo., 438, 440, 27 Pac., 1060; also Colo. Coal &amp; Iron Co. v. John, 5 Colo. App., 213, 38 Pac., 399.
A reversal is in violation of the code provisions as to substantial rights (sec. 78, Mills Ann. Code) and subversive of a rule established by many decisions of our courts, concerning judgments on conflicting testimony.
Schuch was general manager, stockholder and president of the mining company, and, as such, hired plaintiff as a time-keeper and laborer, in December, 1907, and the plaintiff continued to work for the company up to July 6, 1908. His-wages were not paid for June and he took up the matter with Schuch concerning the payment thereof. They had. some talk about it over the telephone, and otherwise, and some letters passed between them' as to the matter. Plaintiff’s version of it is that Schuch agreed to pay his wages individually from and after that time if he would continue to work; Schuch denied it, and this was the issue tried. The court by the instruction quoted in the majority opinion, eliminated any other issue. The following extracts from plaintiff’s testimony show the basis of the court’s ruling, and the jury’s verdict':
“Q. Now, what I am getting at, did you have a conversation on the 6th day of July, 1908, with Mr. Schuch with reference to his paying you from that time on? A. Very close to the 6th, if not .the 6th.
“Q. What did he say to you with reference to your continuing* working on for him? A. He said he would pay it himself.
“Q. About when was the conversation you had with Mr.pSchuch with reference to getting your pay? A. Have had a good many conversations about it.
“Q. What did he say with reference to that letter? *182A. I was talking about the money ánd lie said lie would pay it.
“Q. You had two conversations with him? A. Yes, sir.
“Q. And in both of these conversations he referred to these two letters? A. Yes, sir. He said he would pay. this money himself. ’ ’
On cross-examination, in reference to Schuch’s first promise:
‘ ‘ Q. For how, long a time had he been telling you that? A. Let me see — from the first .he owed me. I think that was in June. It was the first time he paid the rest and didn’t pay me.
“Q. 'What did he say about you continuing working there ? A. He wanted me to stay right on with him. ’ ’
In reference to his time-book containing .daily time of himself and the other men:
“Q. Tell the jury what it has at the head? A. ‘Labor performed for the Friday Leasing Company.’
“Q. And you never put Phillip Schuch’s name in any of these statements? A. I don’t think I did. He told me to make out my statements that way.
“Q. From the last of June, 1908, to the present time the Friday Mining &amp; Leasing Company have been-owing you something all the time? A. Schuch has been owing me. It has never been squared up.
“Q. And except for what Mr. Schuch wrote in letters to you he didn’t say anything more than was said to you on or about the 6th of July, 1908, about paying you? A. Why, about paying me, he has told me. time and again he would pay me.
“Q. Now, will you tell this jury exactly what words Mr. Schuch said to you whereby he hired you .to work for him? A. He told me to stay with him and he would pay me. That’s the words.
“Q. Until you commenced this suit did you ever
*183make a demand upon liim personally, to pay this or any part of this time account? A. Yes, sir.
“Q. In what way? By letter or word of mouth? A. I don’t know whether by letter or not.
“Q. And did he not reply that the company was getting in money as best it could from the stockholders ? A. He has told me the company were doing the best they could to raise money but that he would pay me what was owing me himself.
“Q. Now, you went to Denver once, did you not, at Mr. Schuch’s expense, and as the guest of the company and were entertained there at the Shirley Hotel? A. I was there at the Shirley with the exception of twelve days.
££Q. Do you recollect when that was? A. I think last 4th. I am pretty certain it was last 4th.
££Q. In 1909? A. Well, I couldn’t tell you. Sometime in July last year.
££Q. Did you at that time make claim'upon Mr. Schucli personally to pay you the money then owing you? A. At the time that I was there?
“Q. Yes. A. I asked him for it and he said he would pay it.
££Q. Who was present? A. I don’t know. I never dunned him for money in the presence of anybody.
“Q. Wasn’t the directors there? A. No, sir. There was a gathering at that time and he took me to Mr. Peterson and wanted me to tell them what I knew of the mine.
“Q. Then you say at that time you made a personal request to pay the money he owed you and he said he would? A. Yes, that’s all. I think he paid me $2, but he said, i£You need not make any account of it.”
It is true the plaintiff testified that Schuch ££ guaranteed” the payment of his wages as quoted in the majority opinion, but it was in regard to money earned prior to July 6, 1908, and it was in answer to the follow*184ing question: “I will ask you who you were working for then during’ the month of June, 1908, and the first six days of July, for Schuch or the Friday Mining and Leasing Company?”
In addition to the quotations from Schuch’s letters in the majority opinion I quote the following: .
“Now, Mr. Dailey, I want you and Judson to do me one favor and if any of the other boys are willing to, I will gladly do for them on the same basis. * * *
“Now, Mr. Dailey, I want you and Judson to help me hold the Friday Mine until I can get the money together to clean up its debts and proceed with the development work just enough to hold the contract.”
Schuch further testified on this issue:
“I wrote the letter of October 22, 1908, and I intended to see those men paid. * * *
“I would say there was then some conversation to the ’effect that I wanted Mr. Dailey to continue with the mine and stick to me and I would stick to him. ’ ’
If Schuch would say this, together with his letters quoted in the majority opinion, in writing, does it not indicate the truth of plaintiff.’s testimony as to what he said, orally? From any viewpoint, was there not enough in the testimony to justify the court in submitting the issue to the jury?
At the close of the evidence Schuch asked for an instruction to the effect that there was no evidence to bind him individually, which the court refused, but gave two instructions requested by him, one quoted in the majority opinion and the other as follows:
“In any event a verdict against the defendant, Philip Schuch, cannot be recovered for more than the amount of unpaid indebtedness which has accrued since the 6th day of July, 1908.”
Schuch’s request for these instructions, and the giving of them, shows clearly the issue that was tried. No *185attempt was made to hold Schueh ás a guarantor, and the court took such consideration from the jury and limited thé jury’s deliberations to one issue alone.
In the late case of Hall v. Allen, 46 Colo., 355, 104 Pac., 489, the supreme court held a similar promise not within the statute. Allen was a physician and had been attending Mrs.- Hall’s brother in a hospital for a short time, and while so attending him, received a letter from Mrs. Hall making inquiry, and on answering it, received the letter copied in the court’s opinion, page 356, wherein she said:
“Doctor, may I ask a favor of you, namely, that you let me know every day or two just how he is doing, and even a postal card will be appreciated. And we will gladly pay all expense. * * *
“All of his expenses will be paid later on and we want him to have anything to make him more comfortable, etc.”
The court held this was “a request to the doctor to continue to render such services required,” and the court said:
“The questions as to whether the doctor relied solely upon this employment, and, if a third person is liable at all, the promisor’s undertaking is collateral, are eliminated from our consideration by proper instructions' to the jury upon that phase of the case, which found adversely to the contention of the appellant, which findings we think there is sufficient evidence to sustain. ’ ’
The opinion cites Boston v. Farr, 148 Penn., 220, 23 Atl., 901. In that case a physician had attended defendant’s stepson for a time and, another physician’s assistance being needed in an operation, he stated to defendant that he did not know whether he would be paid or not, and defendant replied:
“If the boy dies I don’t want any blame resting on *186me. You go and get the doctor and do all yon can for the boy. I will see that you get your pay.”
The court held this was an original promise. King v. Edmiston, 88 Ill., 257, is also cited, wherein the court held the promisor liable for a physician’s services from and after an offer and request that he “continue his labors.”
If services are performed for, or goods sold to, one person at the request of another, and the credit is given to him, he is liable.' — Geary v. O’Neill, 73 Ill., 593. Schuch requested the plaintiff to continue working for the mining compan3r, saying he would pay the plaintiff himself if he would continue his work. Plaintiff had refused to credit the company any longer and must have given credit to Schuch thereafter.
That plaintiff put at the top of the page of daily time record for the other men and himself the words, “Labor performed for the Friday Leasing Company,” does not show that plaintiff credited the company; furthermore, he testified that Schuch told him to make his statements that way. Plaintiff was looking after eveiything as superintendent, hired the men, kept the time for all, along with that of his own, and sent the statement for all to Schuch, in Denver. Checks were returned and plaintiff paid men. Plaintiff never kept a separate personal account nor did he present any separate personal statement. The majority opinion says he never demanded payment of Schuch individually prior to the suit, but the foregoing testimony shows the contrary.
Schuch had an individual as well as a representative capacity and his representative capacity did not bar him from acting as an individual. The contested fact was peculiarly a question for the jury. They saw the witnesses on the stand, observed their demeanor, and so did *187the court; the jury found the issue for the plaintiff; the court ordered judgment thereupon and denied a new trial; the judgment should stand.
